       Case 4:17-cv-00079-RGE-SBJ Document 184 Filed 08/16/19 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF IOWA
                                       CENTRAL DIVISION

 JOHN DOE,
                                                      No. 4:17-cv-00079-RGE-SBJ
                Plaintiff,
                                                      JOINT NOTICE OF SETTLEMENT
 vs.

 GRINNELL COLLEGE,

                Defendant.


        The parties in the above-referenced action, by and through their counsel, submit this Joint

Notice of Settlement. The parties to this action have entered into a settlement agreement and intend

to file a stipulation of dismissal on Monday, August 19, 2019. The parties respectfully request that,

in light of their settlement, the Court remove the Final Pre-Trial Conference, scheduled for

Monday, August 19, 2019, and Trial, scheduled to commence on September 16, 2019, from the

Court’s calendar.

Dated: August 16, 2019                                Respectfully Submitted,

 /s/ Frank Boyd Harty                              /s/ Andrew T. Miltenberg
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 Attorneys for Defendant                           Attorneys for Plaintiff
      Case 4:17-cv-00079-RGE-SBJ Document 184 Filed 08/16/19 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2019 I served the foregoing document on the following
counsel of record via the Court’s ECF system:

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                                                   /s/Andrew T. Miltenberg
